O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                           for the
                                                        Western District of North Carolina

                     United States of America                                )
                                v.                                           )
                                                                             )   Case No: 5:02CR5-6
                     JACKIE LEE MILLER, JR.
                                                                             )   USM No: 19014-058
Date of Previous Judgment: May 5, 2003                                       )   Randolph Lee
(Use Date of Last Amended Judgment if Applicable)                            )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of             months is reduced to                           .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    34                Amended Offense Level:                                              34
Criminal History Category: VI                Criminal History Category:                                          VI
Previous Guideline Range:  262 to 327 months Amended Guideline Range:                                            262       to 327   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain): As this case did not involve cocaine base, the retroactive crack cocaine application does not apply.




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                       May 5, 2003        shall remain in effect.
IT IS SO ORDERED.

Order Date:          June 1, 2009


Effective Date: June 1, 2009
                       (if different from order date)


               Case 5:02-cr-00005-KDB-DCK                                Document 254          Filed 06/01/09       Page 1 of 2
Case 5:02-cr-00005-KDB-DCK   Document 254   Filed 06/01/09   Page 2 of 2
